          Case 4:19-cr-06017-SAB         ECF No. 44       filed 10/04/19    PageID.203 Page 1 of 2

                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 UNITED STATES OF AMERICA,                                       Case No.   4:19-CR-06017-SAB
                                                                 CRIMINAL MINUTES
                                       Plaintiff,
        -vs-                                                     DATE:     OCTOBER 4, 2019
                                                                 LOCATION: YAKIMA
 JEREMY JAY GULLETT,
                                                                 EVIDENTIARY HEARING
                                       Defendant.

                                      Hon. STANLEY A. BASTIAN

         Erin R. Sinclair                               03                               Lynette F. Walters

      Courtroom Deputy                              Law Clerk                             Court Reporter

                   Benjamin D. Seal                                           Paul E. Shelton

                Government’s Counsel                                       Defendant's Counsel
 United States Probation Officer: No appearance

       [X] Open Court                         [ ] Chambers                          [ ] Telecon
Preliminary comments by the Court.

Mr. Shelton presented the defendant’s Motion to Seal (ECF No. 34). Government did not object. Mr. Shelton
confirmed that he doesn’t anticipate the sealed information will come up in court today. Court took the
matter under advisement.

Mr. Seal presented six stipulated facts to the Court: (1) there was a valid arrest warrant, (2) detective observed
and recognized the defendant, (3) defendant was arrested, (4) detective called for K-9 search of the vehicle, (5)
warrant obtained based on K-9 alert in the vehicle, and (6) vehicle search based on warrant. Both counsel
presented argument as to the six stipulated facts and the necessity for testimony from the K-9 Officer. Court
will take the matter under advisement and rule on the legal issue before proceeding with Defendant’s
Motion to Suppress (ECF No. 26).

2:16 p.m. Direct examination of Government’s sworn witness, Keith Schwartz by Mr. Seal; cross examination
by defense counsel; re-direct by Mr. Seal. 2:50 p.m. witness excused.

2:51 p.m. Direct examination of Government’s sworn witness, Elizabeth Grant by Mr. Seal; cross examination
by defense counsel; 3:07 p.m. witness excused.

3:08 p.m. Direct examination of defendant’s sworn witness, Isaac Merkl by Mr. Shelton; no cross-examination.
3:19 p.m. witness excused.


[X] ORDER FORTHCOMING

 CONVENED: 1:34 P.M.            ADJOURNED: 3:25 P.M.            TIME: 1 HR. 51 MINS. CALENDARED            [N/A]
          Case 4:19-cr-06017-SAB          ECF No. 44     filed 10/04/19   PageID.204 Page 2 of 2

United States vs. Jeremy Jay Gullett                                                    October 4, 2019
4:19-CR-06017-SAB-1                                                                     Page 2


Mr. Shelton presented argument regarding the information tips regarding the defendant that were given to
Kennewick Police Officers by other criminal offenders. Government response and argument by Mr. Seal.

Court took the matter under advisement.

Defense counsel shall file any supplemental briefing by 10/11/2019; Government response by 10/18/2019.

The October 28, 2019 (2 days) trial date will be reschedule.
